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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                           )
                                                    )            8:05CR259
                      Plaintiff,                    )
                                                    )
       vs.                                          )          REPORT AND
                                                    )
AARON LEE KUNTZ,                                    )      RECOMMENDATION
                                                    )
                      Defendant.                    )


       On October 3, 2005, defendant Aaron Lee Kuntz (Kuntz), together with his counsel,
Clarence E. Mock, III, appeared before the undersigned magistrate judge and was advised
of the charges, the penalties and the right to appear before a United States District Judge.
After orally consenting to proceed before a magistrate judge, Kuntz entered a plea of guilty
to Count I of the Indictment.
       After being sworn, Kuntz was orally examined by the undersigned magistrate judge
in open court as required by Federal Rule of Criminal Procedure 11. Kuntz also was given
the advice required by that Rule. Finally, Kuntz was given a full opportunity to address the
court and ask questions.
       Counsel for the government and counsel for Kuntz were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was
a factual basis for Kuntz’s plea of guilty to Count I of the Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and
voluntary; (2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any
other provisions of the law governing the submission of guilty pleas have been complied
with; (4) a petition to enter a plea of guilty, on a form approved by the court, was completed
by Kuntz, Kuntz’s counsel and counsel for the government, and such petition was placed
in the court file (Filing No. 44); (5) the plea agreement is in writing and is filed in the court
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file (Filing No. 45); (6) there were no other agreements or stipulations other than as
contained in the written plea agreement.


       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.     She accept the guilty plea and find the defendant, Aaron Lee Kuntz, guilty
of the crime set forth in Count I of the Indictment to which Kuntz tendered a guilty plea;
       2.     She not accept the written plea agreement at this time as it contains a
provision under Fed. R. Crim. P. 11(c)(1)(C), but rather she consider the agreement at the
time of sentencing.


                                       ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.


       DATED this 3rd day of October, 2005.


                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge




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